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 7

 8                         IN THE UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF ARIZONA

10   VIP Products, L.L.C., an Arizona limited          No. 2:14-cv-02057-DGC
     liability company,
11
                                                       PLAINTIFF/COUNTER-DEFENDANT
12
                  Plaintiff,                           VIP PRODUCTS, L.L.C.’S MOTION TO
                                                       AMEND AND SUPPLEMENT ITS
           v.                                          COMPLAINT AND MOTION TO
13                                                     SUPPLEMENT ITS ANSWER TO THE
                                                       AMENDED COUNTERCLAIM
14   Jack Daniel’s Properties, Inc., a Delaware
     corporation
15
                  Defendant.
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18         Plaintiff/Counter-defendant VIP Products, L.L.C., (“Plaintiff” or “VIP”), through its

19   attorneys undersigned, pursuant to Rules 15(a) and 15(d), Fed.R.Civ.P. and L.R. 15.1(a)

20   hereby moves for leave to amend and supplement its Complaint to add a new claim for

21   declaratory judgment that Counterclaimant’s trade dress and bottle design are not entitled to

22   trademark protection and a second new claim for cancellation of Defendant’s PTO

23   registration for its bottle design. Plaintiff also seeks leave to amend its Answer to the

24   Counterclaim to add additional affirmative defenses related to Counterclaimant’s trade dress

25   claims and to remove several affirmative defenses that VIP has elected not to pursue. This

26   Motion is supported by the following Memorandum of Points and Authorities.

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 1          DATED this 23rd day of March 2015.

 2                                              DICKINSON WRIGHT PLLC.
 3

 4                                              By: s/ David G. Bray
                                                    David G. Bray
 5                                                  David N. Ferrucci
                                                    1850 North Central Avenue, Suite 1400
 6                                                  Phoenix, Arizona 85004
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 8                     MEMORANDUM OF POINTS AND AUTHORITIES
 9          VIP’s Complaint against defendant Jack Daniel’s Properties, Inc. (“Defendant” or
10   “JDPI”) asserted a single claim for declaratory relief asserting that, with regard to VIP’s
11   “Bad Spaniels” Parody Dog Toy, “Plaintiff’s use of its ‘Bad Spaniel’s’ name and mark does
12   not infringe or dilute any claimed trademark rights that Defendant may claim in any ‘Jack
13   Daniel’s’ Trademark for its Tennessee sour mash whiskey and/or any other product.”
14   [Complaint (Dkt #1), ¶ 49.] In response, JDPI filed an Answer and Counterclaim. JDPI’s
15   Counterclaim asserted nine claims for relief, including claims that VIP had infringed its trade
16   dress and its PTO registration for the Jack Daniel’s bottle design. [JDPI’s Answer and
17   Counterclaim (Dkt # 12), ¶¶ 20-63.] dick
18          Plaintiff is seeking leave to amend its Complaint to (i) add a new claim for declaratory
19   relief that Jack Daniel’s trade dress and Jack Daniels’ bottle design are functional, generic
20   and/or non-distinctive, merely descriptive or ornamental and thus not entitled trademark
21   protection, and (ii) and a new claim for cancellation of Defendant’s PTO trademark
22   registration for Jack Daniel’s bottle design. Plaintiff is also seeking leave to amend its
23   Answer to assert additional affirmative defenses related to JDPI’s trade dress and bottle
24   design claims and to remove certain affirmative defenses asserted in its original Answer to
25   the Counterclaim that VIP no longer intends to pursue.         Plaintiff’s proposed Amended
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 1   Complaint is attached as Exhibit “A” to this Motion and its proposed Amended Answer to

 2   Counterclaim is attached as Exhibit “B.”1

 3          Generally, Rule 15 advises the court that “leave shall be freely given when justice so

 4   requires.” The Ninth Circuit has repeatedly emphasized that this policy is “to be applied with

 5   extreme liberality.” Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th

 6   Cir.2001) (quoting Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th

 7   Cir.1990). The United States Supreme Court has set forth the following test to be applied to

 8   a Motion to Amend:

 9             If the underlying facts or circumstances relied upon by a plaintiff may be
               a proper subject of relief, he ought to be afforded an opportunity to test
10             his claim on the merits. In the absence of any apparent or declared reason
11             -- such as undue delay, bad faith or dilatory motive on the part of the
               movant, repeated failure to cure deficiencies by amendments previously
12             allowed, undue prejudice to the opposing party by virtue of allowance of
               the amendment, futility of the amendment, etc. -- the leave sought should,
13             as the rules require, be ‘freely given.’
14

15   Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227, 230 (1962)). See also Eminence Capital,
16   L.L.C. v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir. 2003) (per curiam) (reversing trial
17   court’s denial of motion to amend, stating that Rule 15’s policy of favoring amendments “is
18   to be applied with extreme liberality”). None of the contraindicators set forth in Foman are
19   present here.
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26       Pursuant to L.R. 15.1(a), each of the proposed amended pleadings attached as exhibits to
     this Motion indicates how it differs from its earlier counterpart by striking through text to be
27   deleted and underlining the text to be added.
                                                     3
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 1          Pursuant to Rule 15(d), Fed.R.Civ.P. the court may allow a party to supplement its

 2   pleadings, “upon reasonable notice and upon such terms as are just.” In this matter, notice is

 3   reasonable as it falls before the Court’s March 24, 2014 deadline for filing amended or

 4   supplemental pleadings.2 [Case Management Order (Dkt. # 25), ¶ 2]. In addition, the close

 5   of fact discovery in this matter is still more than three months away (July 1, 2015) and the

 6   close of expert discovery is nearly five months away (August 14, 2015). No depositions have

 7   been set or taken in this matter. Most importantly, JDPI cannot legitimately claim prejudice

 8   by the supplement and the amendment. Justice therefore requires that VIP be allowed to

 9   amend its Complaint to assert the additional declaratory judgment claim and PTO registration

10   cancellation claim and to amend its Answer to add additional affirmative defenses related to

11   its claim that Jack Daniel’s trade dress and Jack Daniels’ bottle design and not entitled to

12   trademark protection. For the convenience of the Court, a form of Order is submitted

13   herewith.

14               RESPECTFULLY SUBMITTED this 23rd day of March, 2015.

15                                                DICKINSON WRIGHT PLLC
16

17
                                                  By: s/ David G. Bray
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26      The Case Management Order provides that the deadline to seek amendments to the
     pleadings is 60 days from the date the Case Management Order. [Dkt # 25, ¶ 2]. Sixty days
27   from the January 23, 2015 date of that Order is Tuesday, March 24, 2015.
                                                    4
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 1                                CERTIFICATE OF SERVICE

 2          I hereby certify that on March 23, 2015, I electronically transmitted the above

 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

 4   Notice of Electronic Filing to all CM/ECF registrants:

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                                       s/ Kristi A. Arendt
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